 

Case 1:16-cv-09375-RJS Document1 Filed 12/05/16 Page 1 of 21

: &
WDGE SULTIVAN
Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner) :

5

UNITED STATES DISTRICT COURT

for the

Southern District of New York

-L.6 CV 937:

 
   

 

 

(to be filled in by the Clerk's Offte)
Paula Collins )
Plaintiffs) 5}
(Write the full name of each plaintiff who is filing this complaint. .
ifthe names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) C] Yes No
please write "see attached” in the space and attach an additional ) ve
page with the full list ofnames.) ) 3 mn
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. . - wi OH
John bh. Mercill, Secretury of Sete, Alabama “1, SE
€ See Attached €or adetHanal Be Rndants) ) Ce, 5
Defendant(s) ) ~ ™ 2
(Write the full name of each defendant who is being sued. If the ) cA
names of all the defendants cannot fi in ihe space above, please ed

vrite "see attached" in the space and attach an additional page
with the full list af names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual's
birth; a minor's initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 
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DEFENDANTS
{Each Defendant is named in his or her official capacity)
Byron Mallott, Lieutenant Governor, Alaska
Michele Reagan, Secretary of State, Arizona
Mark Martin, Secretary of State, Arkansas
Alex Padilla , Secretary of State, California
Wayne W. Williams, Secretary of State, Colorado
Denise W. Merrill, Secretary of State, Connecticut
Jeffrey W. Bullock, Secretary of State, Delaware
Michael Bennett, Chair, District of Columbia Board of Elections
Ken Detzner, Secretary of State, Florida
Brian P. Kemp, Secretary of State, Georgia
Scott T. Nago, Chief Election Officer, Hawaii
Lawrence Denney, Secretary of State, Idaho
Jesse White, Secretary of State, Illinois
Connie Lawson, Secretary of State, Indiana
Paul D. Pate, Secretary of State, Iowa
Kris W. Kobach, Secretary of State, Kansas
Alison Lundergan Grimes, Secretary of State, Kentucky
Tom Schedler, Secretary of State, Louisiana
Matthew Dunlap, Secretary of State, Maine
Jobn C. Wobensmith, Secretary of State, Maryland
William Francis Galvin, Secretary of the Commonwealth of Massachusetts
Ruth Johnson, Secretary of State, Michigan
Steve Simon, Secretary of State, Minnesota
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Jason Kander, Secretary of State, Missouri
Linda McCulloch, Secretary of State, Montana
John A. Gale, Secretary of State, Nebraska
Barbara K. Cegavske, Secretary of State, Nevada
William M. Gardner, Secretary of State, New Hampshire
Kim Guadagno, Lieutenant Governor, Department of State, New Jersey
Brad Winter, Secretary of State, New Mexico
Rossana Rosado, Secretary of State, New York
Elaine F. Marshall, Department of the Secretary of State, North Carolina
Al Jaeger, Secretary of State, North Dakota
Jon Husted, Secretary of State, Ohio
Mike Hunter, Secretary of State, Oklahoma
Jeanne P. Atkins, Oregon Secretary of State
Pedro A. Cortés, Secretary of the Commonwealth of Pennsylvania
Nellie M. Gorbea, Secretary of State, Rhode Island
Mark Hammond, Secretary of State, South Carolina
Shantel Krebs, Secretary of State, South Dakota
Tre Hargett, Secretary of State, Tennessee

 
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Kim Wyman, Secretary of State, Washington

Natalie E. Tennant, Secretary of State, West Virginia

Doug LaFollette, Secretary of State, Wisconsin

Edward Murray, Ill, Secretary of State, Wyoming

Oliver Potts, Director of The Office of the Federal Register
David Ferreiro, National Archivist

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Pro Se 15 (Rev, 69/16) Complaint for Violation of Civil Rights (Non-Prisoner)

 

L The Parties to This Complaint

A. The Plaintiff(s}

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant{s)

Paula Collins

 

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City State Zip Code
New York

 

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Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name
Job or Title (fknown)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

 

 

 

 

 

 

 

 

 

 

 

(See attached)

City State Zip Code
[] Individual capacity ([] Official capacity

City State Zip Code

 

 

 

|] Individual capacity [[] Official capacity
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Pro Se 15 (Rev, 09/16) Complaint for Violation of Civil Rights (Non-Prisoner}

IL.

 

Defendant No. 3

Name

 

 

Job or Title (ifinewn)

 

Address

 

 

City State Zip Code
County

 

Telephone Number

 

E-Mail Address 4fknown)

 

[] Individual capacity [] Official capacity

Defendant No. 4

Name

 

Job or Title (known)

 

Address

 

 

City Stale Zip Code
County

 

Telephone Number

 

E-Mail Address (i k1town)

 

[ | individual capacity [[] Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws}." Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing sutt against (check all that apply}:
Federal officials (a Brvens claim}
State or local officials (a § 1983 claim)
B. Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by

the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner}

Plaintiff brings this action under 42 U.S.C. § 1983 because Defendants’ actions, separately and in
combination through the Electoral College process, place imminent risk of violation of personal rights
of 14 Amendment Equal Protection as a class of one, rights under the Privileges and Immunities
clause of the 14° Amendment, Due Process rights under the 5" Amendment, and personal rights under
the Civil Rights Act, Title I], Section 201 (a). Defendants include Secretaries of State and other state
election officials throughout the 50 states.

 

Cc. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials?

al) Plaintiff's Equal Protection rights are at risk of violation as a result of Defendants' imminent plans
for actions in the 2016 Presidential election;

2) After the meeting of the Electors in the several states which is scheduled to occur on or about
December 19, 2016, Plaintiff's individual vote will have been abridged to the extent that it is discarded
from the federal election process, thus violating her right to vote under the Civil Rights Act, and rights
of Equal Protection under the 14° Amendment, rights of Due Process under the 5" Amendment, and
rights under the Privileges and Immunities Clause of the 14" Amendment;

3) The Electoral College process is a federal process, with oversight by the National Archivist and
representatives of the Office of the Federal Register. This is a Bivens claim because it deals with
federal officials.

 

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional pages if needed.

Under color of law, acting under local election laws in the fifty states, and actuing under the 12"
Amendment of the US Constitution, the Defendant Secretaries of State and other state election officials
will certify the Electoral College vote on December 19, 2016. Electors’ votes are decided by a process
of local voting rules, local voting districts, partisan rules, and a series of mathematical formulas that
have widely disparate connections to the official census. As a class of one, Plaintiff's rights will receive
treatment that differs from the treatment of other similarly situated voters when the state Electoral votes
are certified and presented to federal officials.

Plaintiff's is a registered voter in the State of New York. Acting under color of law, the Electoral
College will negate the value of that vote, and abridge the vote, rather than aggregating it with other
voters from other states. On or about December 19, 2016, and continuing until on or about December
28, 2016, the Secretaries of States from each of the 50 states, acting under color of state and federal
law, will forward their Electoral College votes to the National Archivist and the Office of Federal
Register. Defendants’ actions, separately and in combination with the process of the Electoral College,
pose imminent threat of violation to Plaintiffs equal protection rights under the 5" Amendment, the 14"

Amendment, and the Civil Rights Act.
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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner)

 

Til Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. [f more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

1) The events giving rise to the violation of Plaintiff's Equal Protection, Due Process, and Civil Rights
began in a voting booth at PS3, located at 490 Hudson Street, New York, New York 10014.

2) The violation of Plaintiffs Equal Protection rights, Due Process, and Civil Rights is expected to
continue on or about December 19, 2016, when the Electors will meet in their respective states and
certify their votes with the respective Secretaries of State, or other election officials, named as
Defendants in this cause. In the Electoral College process, Plaintiff's vote will receive disparate
treatment compared to other similarly situated voters from other states.

3) The violation of Plaintiff's Equal Protection, Due Process, and Civil Rights is expected to continue
on or about December 28, 2016, when the votes of the Electors are to have been received by the
Defendant, David Ferreiro, National Archivist, in Washington DC or at the mailing address of the
National Archives, in College Park, Maryland. Plaintiff's vote will be abridged in this process, and in
effect will have been erased from the 2016 Presidential Election, violating Plaintiff's rights under the
Privileges and Immunities Clause and under the Civil Rights Act. Defendant Director Oliver Potts will
coordinate with David Ferreiro in accepting and keeping safe the certified Electoral College votes, and
is therefore named in this suit for his role in the Electoral College process.

 

B. What date and approximate time did the events giving rise to your claim(s) occur?

1) The events giving rise to the violation of Plaintiff's constitutionally-guaranteed rights of Equal
Protection, Due Process, and Civil Rights began on November 8, 2016, at approximately 7:30 am, in
the context of the United States Presidential Election.

2) The meeting of the Electors in the several states expected to occur on or about December 19, 2016
poses an imminent threat to Plaintiff's Equal Protection rights as a class of one, in comparison to other
similarly situated voters in other states.

3) The delivery of the Electors’ votes to the National Archivist expected to occur on or about December
28, 2016, poses an imminent threat to Plaintiff's Equal Protection rights as a class of one, in comparison
to other similarly situated voters in other states. Other voters from other states will have a greater
proportion of representation in the federal process of choosing the President ad Vice President, thus
violating Plaintiff's rights under the Privileges and Immunities Clause of the 14" Amendment.

4) The meeting of the Archivist and/or representatives from the Office of the Federal Register that is
expected to occur on or about January 3, 2017 poses an imminent threat to Plaintiffs Equal Protection
rights. By that point in the Electoral College process, Plaintiffs vote will have been abridged and
effectively erased from the Federal Election process, also violating her Civil Rights.

 

C. What are the facts underlying your claim(s)? (For example: What happened to vou? Who did what?
Was anyone else involved? Who else saw what happened?}
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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Nen-Prisoner}

 

IV.

Injuries

1) Plaintiff voted in the United States Presidential Election at her regular polling place, located at PS 3,
at 490 Hudson Street; New York, NY 10014,

2) By November 9, 2016, news media informed the public that the Electoral College vote was expected
to negate and abridge Plaintiffs vote when the Electors will meet on or about December 19, 2016.

3} The actions of the Defendants, separately and in combination through the process of the Electoral
College pose imminent threat of violation of Plaintiffs rights under the Equal Protection Clause, the
Privileges and Immunities Clause, the 5" Amendment right of Due Process, and the Civil Rights Act.
Plaintiff's vote will be, for all intents and purposes, abridged and eliminated by the expected vote of the
Electoral College which will take place on or about December 19, 2016.

4) A comparison of the impact of a single voter from other states reveals that, as a class of one,
Plaintiff's equal protection rights are not the same as other similarly situated voters across the 50 states.
5) Defendants’ actions, separately and in combination through the process of the Electoral College,
place imminent risk of violation of Plaintiff's rights under the Privileges and Immunities Clause, in the
disparate weight of her vote compared to the weight of a vote cast by someone from another state.

 

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.
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Pro Se 15 (Rev. 69/16) Complaint for Violation of Civit Rights (Non-Prisoner}

For a complete explanation of injuries, kindly read the Memorandum of Points and Authorities in Support of the ~
Plaintiff's Motion for a Temporary Restraining Order.

COUNT I

VIOLATION OF EQUAL PROTECTION RIGHTS UNDER THE 14° AMENDMENT

As aregistered voter in the State of New York, the Defendants’ actions, separately and combined, deprive
Plaintiff of "equal protection under the laws," in that, as a class of one, the value of Plaintiff's vote is held in
different ratio to the Electors’ votes than the votes of similarly situated voters in other states.

COUNT II

VIOLATION OF THE PRIVILEGES AND IMMUNITIES CLAUSE OF THE 14" AMENDMENT

The Defendants, acting through the process of the Electoral College vote, violate Plaintiff's rights under the
Privileges and Immunities Clause of the 14"" Amendment by abridging Plaintiff's vote, rather than aggregating it
with other similarly cast votes. In this case, the aggregation of votes from the 50 states is expected to be out of
agreement with the total of the votes of the states' electors, causing Palintiff's vote to lose the privilege of
recognition in states whose Electors are choosing to vote for a different candidate. When the Electors meet in
their respective states and have their votes certified by the Defendant Secretaries of State in the 50 states, the
result will be a violation of my rights under the 14" Amendment Privileges and Immunities Clause. By failing to
aggregate the popular votes from each of the 50 states, the mechanisms of Defendants as they act separately and
in combination through the process of the Electoral College denigrate the concept of federalism among the 50
states, creating differing levels of privileges and immunities according to where each voter lives. As a class of
one, and as a voter from New York, my vote is not of value in any other state besides New York.

Just as a single dollar bill should be valued and respected from state-to-state, a single vote should be valued and
respected from state-to-state. The Defendants, acting separately and in combination through the Electoral
College, deprive me, as a voter, of privileges and immunities across state lines,

COUNT HE

VIOLATION OF RIGHTS UNDER THE DUE PROCESS CLAUSE

Because this matter is a claim for Equal Protection rights on a matter involving federal action, the Defendants’
actions, separately and in combination through the process of the Electoral College, violate Plaintiff's Due
Process rights under the 5 Amendment.

COUNT IV

VIOLATION OF CIVIL RIGHTS ACT OF 1964, TITLE JI, SECTION 201 (a)

Voting is a public act, and voting booths are public places. Defendants, acting separately and in combination
through the Electoral College process, abridge Plaintiff's vote according to place of residence, thus depriving
Plaintiff of rights under the Civil Rights Act of 1964, Title II, Sectiion 201(a).

 

¥. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.
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VI.

For a complete explanation of the basis of these claims, kindly read the Memorandum of Points and Authorities
in Support of Plaintiffs Motion for a Temporary Restraining Order.

Plaintiff Paula Collins seeks Declaratory and Injunctive Relief, in the form of restraining Defendants, Secretaries
of States and other state election officials, as they act through the Electoral College process on or before
December 19, 2016, from certifying the vote of the respective Electors in any way that is inconsistent with the
results of the nationwide popular vote as it was decided in the United States Presidential Election of 2016, held
on or about November 8, 2016; and an order to require that the Defendants, Secretaries of States and other state
election officials, acting separately and together, and in combination with the Defendant National Archivist,
David Ferreiro and the Defendant Director of the Office of the Federal Register, Oliver Potts, to certify and
present to Congress the results of the popular vote as it was decided in the United States Presidential Election of
2016, held on or about November 8, 2016.

 

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served, J understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.

Date of signing: bee, S Dose

Signature of Plaintiff Ce Catbir_y

Printed Name of Plaintiff PhucA Collin S
B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 
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Name of Law Firm

 

Address

 

 

City
Telephone Number

State

Zip Code

 

E-mail Address

 
